Case 2:04-cV-02620-.]DB-tmp Document 77 Filed 08/10/05 Page 1 of 2 Page|D 77

 

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IN THE UNITED sTATEs DISTRICT CoURT - D-C-
FoR THE WEsTERN DISTRICT oF TENNEssEE 05 AU[; jo PH
WESTERN DIVIsIoN 3' 59
MEMPHIS PUBLISHING Co., CLEHK U.S. M,("QM
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Plaintiff, `
v. No. 04-2620 B
NEWSPAPER GUILD oF MEMPHIS
LoCAL 33091,
Defendant,

 

ORDER OF REFERENCE

 

Before the Court is the June 30, 2005 motion of the Defendant, Newspaper Guild of
Memphis, Local 33091, to strike portions of the Plaintiff‘s amended complaint The motion is
referred to the United States Magistrate Judge for determination Any objections to the magistrate
judge's order shall be made Within ten (10) days after service of the order, setting forth particularly
those portions of the order objected to and the reasons for the objections Failure to timely assign
as error a defect in the magistrate judge's order will constitute a waiver of that objection. w Fed.
R. Civ. P. 72(a).

IT IS SO ORDERED this § day o August, 2005.

 
    

 

J/DA IEL BREEN
I'r D sTATEs DIsTRiCT JUDGE

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Barbara Camens

BARR & CAl\/[ENS

1025 Connecticut Avenue
Suite 712

Washington, DC 20036

Sarnuel Morris

GODWIN MORRIS LAURENZI & BLOOl\/IFIELD, P.C.

50 N. Front St.
Ste. 800
1\/lemphis7 TN 38103

L. Michael Zinser

THE ZINSER LAW FIRM
150 Second Ave.7 N.

Ste. 410

Nashville, TN 37201

Glenn E. Plosa

THE ZINSER LAW FIRM
150 Second Ave.,N.

Ste. 410

1\/lemphis7 TN 37201

Honorable .l. Breen
US DISTRICT COURT

